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A0245B        (Rev. 09/08) Judgment in a Crimina1 Case
              Sheet 1


                                          UNITED STATES DISTRICT COURT
                                                             Southern District of Illinois
                                                                          )
             UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                    Robert E. Gulledge, Jr.                               )
                                                                          )         Case Number: 4:10CR40048-001-JPG
                                                                          )         USM Number: 08866-025
                                                                          )
                                                                          )         Keith W. Kibler
                                                                                    Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            2 of the Indictment
o pleaded nolo contendere to count(s)
                                                                                                                FilED
   which was accepted by the court.
o was found guilty on count(s)                                                                                  SEP 2 72011
  after a plea of not guilty.                                                                           CLERk. U.S. DISTRICT COURT
                                                                                                      SOUTHERN DISTRICT OF ILLINOIS
                                                                                                             BENTON OFFICE
The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended               Count
 18 U.S.C.13~                    . Wir'e~r~~cI                                                                                            iiii"
                                                                                                                                              ..·. •
                                                                                                                                           '!'F




       The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) _______________________ 0 is                            o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           9/20/2011




                                                                          Signature 0




                                                                           J. Phil Gilbert                                District Judge
                                                                          Name of Ju,dge                                 Title of Judge
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             Sheet 4--Probation

                                                                                                           Judgment-Page       2    of         5
DEFENDANT: Robert E. Gulledge, Jr.
CASE NUMBER: 4:10CR40048-001-JPG
                                                                 PROBATION
 The defendant is hereby sentenced to probation for a term of:

 5 years on Count 2 of the Indictment




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 ri/ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check. if applicable.)
        The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as direc~ed by the probatIOn offi~er, the Burea,! of Prisons, or any state sex offender registration agency in which he or she resides,
        works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)
 o      The defendant shall participate in an approved program for domestic violence, (Check. if applicable.)
        !fthis judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any p'ersons engag,ed in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probatIOn officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea. in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the def~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          penmsslon of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ),ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          Sheet 4C -   Probation

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DEFENDANT: Robert E. Gulledge, Jr.
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                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall spend 30 week-ends in jail starting from 6:00 p.m. on Friday until 6:00 p.m on Sunday as directed by
 probation.

 The defendant shall perform 30 hours of community service work.

 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. Having assessed the defendant's ability to pay, payment of the total
 criminal monetary penalties shall be paid in equal monthly installments of $1,000.00 or ten percent of his net monthly
 income, whichever is greater, to commence from the time of the judgment until paid in full.

 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
 access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant is required to notify the Court and the Attorney General of any material change in his economic
 circumstances that would affect his ability to pay restitution.
AO 245B
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           Sheet 5 - Crimina1 Monetary Penalties

                                                                                                       Judgment -              Page _ _4'---_   of        5
DEFENDANT: Robert E. Gulledge, Jr.
CASE NUMBER: 4:10CR40048-001-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                     Fine                                         Restitution
 TOTALS            $ 100.00                                       $ 0.00                                       $ 810,000.00


 o The determination of restitution is deferred until _ _ _ _ _. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is pOld.

 Name of Payee                                                                              Restitution Ordered
                                                                                                 ;!!~:!ijii;",-':':!;I'!iii!;i~::i
  Chevro~¢QtPorati9r                                                                 '1.1'"''   Illi.i.'.ili':,$2~~i~~,!i!!i',
                                                                                                    "I     ':"',',:I"fTIl.: ..
                                                                                                                               ,~.'.!l.O
  Williamson County Regional Airport Authority                                                           $250,000.00

  Williaml'l. Cu~ni~~hani":!"/,,                                                                         $S~~i~~';OO
                                                                                                          ;:;:j!,ii'"J",::,": :~, , ,




 TOTALS                              $                     0.00         $ ________~8~10~,O~0~0~.0~0~


 o    Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 rtI The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     r;t the interest requirement is waived for the D fine r;t restitution.
     D the interest requirement for the      o fme 0 restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 24SB     Case
           (Rev.      4:10-cr-40048-JPG
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           Sheet 6 - Schedule of Payments

                                                                                                               Judgment- Page ~_5~ of                  5
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    r;/ Lump sum payment of $                                   due immediately, balance due

           o     not later than                                       , or
           o     in accordance           o C,         0    0,    0      E, or     0 F below; or
 B    0    Payment to begin immediately (may be combined with                   0 C,       o 0, or      r;/F below); or

 C    0    Payment in equal               (e.g.. weekly. monthly. quarterly) installments of $                             over a period of
          ~~~~_ (e.g.. months or years), to commence                        (e.g.• 30 or 60 days) after the date of this judgment; or

 D    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          --:-~--;o~- (e.g., months or years), to commence                              (e.g., 30 or 60 days) after release from imprisonment to a
           tenn of supervision; or

 E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    r;/ Special instructions regarding the payment of criminal monetary penalties:
            The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
            commencement of the term of supervised release. Having assessed the defendant's ability to pay, payment of the
            total criminal monetary penalties shall be paid in equal monthly installments of $1 ,000.00 or ten percent of his net
            monthly income, whichever is greater, to commence from the time of the judgment until paid in full.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 r;/ Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Restitution to William R. Cunningham is to be paid joint and several with codefendant Francis T. Deutsch, docket
       number 10CR40048-02. The victims' recovery is limited to the amount of their loss and the defendant's liability for
       restitution ceases if & when victims receive full restitution.

 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 r;/ The defendant shall forfeit the defendant's interest in the following property to the United States:
       A forfeiture judgment is entered in favor of USA & against defendant Robert E. Gulledge, Jr. in the amount of
       $750,000.00. Said judgment may be enforced as an ordinary monetary judgment, by the forfeiture of substitute assets,
       or by a combination of both as long as double recovery is not obtained by the government.
 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
